AO 72A
(Rev. 8/82)

 

Case 2:19-cr-00005-LGW-BWC Document 410 Filed 05/25/21 Page 1of1

In the United States District Court
For the Southern District of Georgia
Brunswick Dtbision

UNITED STATES OF AMERICA,

CASE NO:: 2:19-cr-5
Vv.

* + * © &

CHARLES HYDE,

ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 397. Defendant Charles Hyde did not
file Objections. Thus, the Court ADOPTS the Magistrate Judge's
Report and Recommendation as the opinion of the Court and DENIES
Defendant’s Motion to Dismiss for Failure to Prosecute.
Dkt. No. 387. The trial in this case shall commence on June 1,
2021. .

SO ORDERED, this day of wipes , 2021.

 
   
  

 

HON. LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
OUTHERN DISTRICT OF GEORGIA

 
